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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                v.                           :       Case No. 21-cr-128 (RC)
                                             :
WILLIAM POPE, and                            :
MICHAEL POPE,                                :
                                             :
                       Defendants.           :


                           JOINT STATUS UPDATE
______________________________________________________________________________

       The Government and the defendant William Pope, along with his standby counsel, Nicole

Cubbage, met via phone call on April 27, 2023, to discuss the matter of William Pope’s access to

discovery. The Government will serve on the defendant a physical copy of those items contained

in Global Discovery that are marked “Sensitive,” and those items which have no security

designations.

       William Pope further hopes to continue to proceed with virtual, rather than in-person, status

conferences in this matter. The Government does not take a position on that matter at this time,

and defers to the discretion of the Court.

       William Pope has reviewed this document prior to filing and confirms its representations.



                                                             Respectfully submitted,

                                                             MATTHEW GRAVES
                                                             UNITED STATES ATTORNEY
                                                             DC Bar No.: 481052

                                                             /s/ Kelly E. Moran
                                                             KELLY E. MORAN
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